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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,

v.                                               CRIM NO.11 CR-20229-1

SCOTT SUTHERLAND,

                Defendant.
__________________________________/

                      ORDER GRANTING MOTION TO WITHDRAW

       The matter has come before the court regarding the continued representation of

William P. Hackett as counsel for Defendant Scott Sutherland. Upon review of the motion

and brief, the court has determined that there is sufficient reason for Mr. Hackett to be

allowed to withdraw as counsel. Therefore, the Motion to Withdraw is GRANTED.

       IT IS ORDERED that the Federal Defender’s Office appoint a member of the CJA

panel to represent defendant for the remainder of these proceedings.

       IT IS FURTHER ORDERED that substitute counsel file an appearance and meet

with Defendant as soon as practicable.

                                           s/ Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE


Dated: August 6, 2012


I hereby certify that a copy of the foregoing document was mailed to counsel of record on
this date, August 6, 2012, by electronic and/or ordinary mail.


                                           S/Lisa Wagner
                                          Case Manager and Deputy Clerk
                                          (313) 234-5522
